                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 IN RE:                                         )
                                                )   BANKRUPTCY CASE NO.:
 DIANA DEARMAN ROEHRIG,                         )   19-00814-TOM-7
                                                )
                      Debtor.                   )

          MOTION TO COMPEL INSPECTION OF PROPERTY AND CONTENTS

       Comes now André M. Toffel, trustee of the above case ("Toffel") and moves for an

 order to direct the debtor to allow Toffel’s representative to have access to, inspect and

 photograph the debtor’s home and its contents. In support of this motion, Toffel would

 show this Court as follows:

    1. Toffel is the trustee in this case.

    2. Toffel has requested in writing to have his representatives inspect the house and

       contents of the debtor.

    3. Debtor through counsel has refused Toffel’s request (by ignoring same).

    4. It is necessary for Toffel’s representatives to inspect the debtor’s house, its

          contents and to memorialize same with photographs.

    WHEREFORE, Premises Considered, Toffel prays this Court will enter an order

    authorizing Toffel’s representative to have access to, inspect and photograph the

    debtor’s home and its contents. Toffel prays for such further and additional relief as

    this Court deems appropriate.

                                             Respectfully submitted,


                                             /s/William Dennis Schilling
                                             William Dennis Schilling
                                             Attorney for Trustee




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                                CERTIFICATE OF SERVICE

       I hereby certify that I served a copy of the above and foregoing upon the following
 via email this the 1st day of May 2019.

 Ms. Paula C. Greenway
 greenwaybankruptcylaw@gmail.com

 Mr. André M. Toffel
 atoffel@toffelpc.com



                                          /s/William Dennis Schilling
                                          Of Counsel




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